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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                    CASE NO.: 20-CV-80262-RS

  VENTRON MANAGEMENT, LLC,

                 Plaintiff,
  vs.

  TOKIO MARINE SPECIALTY
  INSURANCE COMPANY; AMERICAN
  GUARANTEE & LIABILITY INSURANCE
  COMPANY,

              Defendants.
  ____________________________________/

   VENTRON’S MOTION TO COMPEL TOKIO MARINE AND ZURICH TO PRODUCE
     DOCUMENTS RESPONSIVE TO ITS FIRST REQUESTS FOR PRODUCTION

         Ventron filed this action seeking damages for breach of contract and judicial declarations
  that either its primary commercial general liability insurer, Defendant Tokio Marine (“Tokio”),
  and/or its excess commercial general liability insurer, Defendant AGLIC (“Zurich”), owe duties
  to defend and indemnify Ventron in two separate cases pending against Ventron in Georgia, styled
  as (1) AG v. Ventron Management, LLC, et al., Case No. 18-EV-001064 (“AG”) and (2) Silvery
  v. Ventron Management, LLC et al., Case No. 2020-CV-00551 (“Silvery”).
         As against Tokio, Ventron seeks a declaration that its primary policy has not been
  exhausted by payment of defense costs and indemnity, such that it owes continuing obligations to
  defend and indemnify Ventron in AG and Silvery. Tokio claims that because it has paid $1,000,000
  in connection with claims alleging assault or battery on Ventron-managed properties, it has
  exhausted its $1,000,000 “assault and battery” sublimit. Ventron claims that sublimit is ambiguous
  for several reasons, including whether its purported application to “bodily injury” “resulting from
  assault and/or battery only” extends to claims alleging other causes of injury such as negligent
  surveillance, management and security. Ventron also claims that even if Tokio’s $1,000,000
  assault and battery sublimit applies to AG or Silvery, a separate $1,000,000 sublimit applies to
  each location pursuant to the Tokio Policy’s “Designated Location General Aggregate Limit”



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  endorsement.
         When Tokio claimed it exhausted its applicable policy limit through payments on AG and
  other similar matters in April 2019, Zurich as excess insurer contributed indemnity dollars to settle
  one such matter and took over Ventron’s defense in AG without reservation. Nearly ten months
  later, on February 4, 2020, Zurich reversed course, denied coverage for AG, withdrew from
  Ventron’s defense, and instructed Ventron to appoint and pay for its own counsel on the basis that
  its “Sublimited Coverage Exclusion” precluded coverage for any claims (including “assault and
  battery” claims) subject to a sublimit under the Tokio primary policy. Zurich also denied any
  responsibility for the pre-suit demand (which blossomed into a lawsuit following Zurich’s denial)
  in Silvery. After being sued here, Zurich reversed course again, resuming Ventron’s defense in the
  AG case without reservation. Despite there being no material difference in the allegations, Zurich’s
  position on Silvery remains unchanged.
         Ventron seeks declarations against Zurich that by its acts and omissions it has either waived
  or is estopped from denying coverage as to AG and Silvery, or, alternatively, that its excess policy
  is triggered by the circumstances of AG and Silvery. As part of that effort, Ventron seeks to inquire
  into (1) what Zurich intended to underwrite when it knew of Ventron’s exposure to claims for
  assault and/or battery-related bodily injury, (2) why Zurich provided coverage for the (now-settled)
  Chambers case and AG case (without reservation), (3) why Zurich changed its mind nearly a year
  later, (4) the communications Zurich had with third parties (and thus what admissions Zurich
  made) concerning coverage, and (5) what Zurich did and did not do while in control of Ventron’s
  defense and settlement of AG and whether those acts prejudiced Ventron.
         In the search for admissible evidence as to the issues pled, Ventron propounded separate
  requests for production on each carrier on September 4, 2020, seeking the following documents
  and communications: (1) claim file materials and communications, including claim notes; (2) to
  the extent not found in the claim files, internal communications from each carrier regarding each
  carriers’ policy or the claims at issue; (3) documents resident in each carriers’ underwriting file;
  and (4) documents interpreting the policy provisions, exclusions, and endorsements at issue in this
  case. Zurich and Tokio responded on October 22, 2020 and November 3, 2020, asserting
  numerous objections and withholding scores of documents.1


  1
   Copies of Ventron’s requests to Tokio and Tokio’s responses and objections are attached as
  Composite Exhibit A. An email summarizing the tentative agreements reached between Ventron


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         After extensive conferral, Tokio’s counsel has indicated that she does not yet have
  authority to confirm, but believes Tokio will likely agree to produce its claim files and claims
  related communications with the exception of Tokio’s claim notes or internal Tokio
  communications regarding the claims or policies. Exhibit. B. Tokio also resists production of its
  underwriting file and interpretive materials on relevance grounds. Id.2
         Zurich has agreed to produce its claim file, claim notes, and communications and
  tentatively agreed to produce its underwriting file (subject to further review and redaction), but as
  of the date of this motion, is still in the process of gathering the documents for production.3
         As set forth herein, Defendants’ objections should be overruled. The law of this District is
  clear that materials generated in connection with an insurance claim by an insurance company are
  not entitled to wholesale protection either on the basis of relevance or work-product immunity.
  Rather, a (rebuttable) presumption exists that documents created before a final claim decision is
  made are not protected work-product. Neither Zurich nor Tokio have presented evidence to rebut
  this presumption. Nor could they, since they both agreed to defend the AG case and paid indemnity
  to settle other similar matters on behalf of Ventron. Nor has either Defendant provided a privilege
  log in compliance with the Local Rules so as to allow appropriate evaluation of any claimed
  privileges. This alone amounts to a waiver of any claimed privilege or immunity.
         While the interpretation of an insurance policy is a judicial function, interpretive materials
  bearing on the existence of more than one reasonable interpretation are discoverable, since under
  Florida law an insurance policy is ambiguous (and must be interpreted in favor of the insured) if
  more than one reasonable interpretation exists. Underwriting materials are likewise discoverable




  and Tokio regarding production and remaining issues is attached as Exhibit B. Copies of
  Ventron’s requests to Zurich and Zurich’s responses and objections are attached as Composite
  Exhibit C. An email summarizing the tentative agreements reached between Ventron and Zurich
  regarding production and remaining issues is attached as Exhibit D.
  2
   Ventron and Tokio have agreed to continue the conferral process while this motion is pending,
  and will notify the Court of any further agreements reached pursuant to the Local Rules and this
  Court’s discovery procedures. See D.E. 21.
  3
    See Exhibit D. Ventron seeks relief here against Zurich out of an abundance of caution, given
  the impending discovery and motion deadlines under Rule 26.1(g). The parties have sought either
  an extension of these deadlines or a stay of the case, but as of the date of this motion, Judge Smith
  has yet to rule on the parties’ joint request. See D.E. 33.


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  where, as here, the positions taken by the carriers ignore the principal risk insured and undermine
  the purpose for which the insured purchased these policies.

                          ARGUMENT AND MEMORANDUM OF LAW

      I.      Tokio and Zurich’s Internal Claim File Documents are Discoverable and Not
              Protected by Immunity or Privilege.

           Insurers are not ordinary litigants; they are in the business of investigating and adjusting
  claims and making claims decisions informed by law. Their actions in evaluating claims or
  coverage are discoverable where coverage is at issue, and not ordinarily protected by work-product
  immunity. See, e.g., Milinazzo v. State Farm Ins. Co., 247 F.R.D 691, 702 (S.D. Fla. 2007); Sun
  Capital Partners, Inc. v. Twin City Fire Ins. Co., No. 12-81397-CV, 2015 WL 9257019 (S.D. Fla.
  Dec. 18, 2015) (Matthewman, Mag. J.); Ranger Const. Indus. Inc. v. Allied World Nat’l Assurance
  Co., Case No. 17-81226-CIV-Marra/Matthewman, 2019 WL 436555 at *4 (S.D. Fla Feb. 5, 2019)
  (Matthewman, Mag. J.) (“This Court notes that Milinazzo provides an excellent, well-reasoned
  framework to analyze the work-product privilege in an insurance company context); Royal
  Bahamian Ass’n, Inc. v. QBE Ins. Corp., 268 F.R.D. 695, 697 (S.D. Fla. 2010) (investigation of
  claims is an insurance company’s business, justifying a special rule considering whether claim file
  materials prepared before a coverage denial are protected from discovery).
           The so-called “Milinazzo rule” allows discovery of internal insurance company
  communications made – and documents generated – prior to the insurers’ denial of coverage
  because these documents are presumed to be generated in the ordinary course of an insurer’s
  business. Tokio has made no effort to either rebut the Milinazzo presumption, or provide a
  privilege log pursuant to the Local Rules. Commercial Long Trading Corp. v. Scottsdale Ins. Co.,
  No. 12-22787-CIV, 2012 WL 6850675 at *3 (S.D. Fla. 2012) (presumption can only be rebutted
  by specific evidentiary proof of objective facts showing documents were prepared in anticipation
  of litigation).
           As applied to Tokio, the rule favors complete production of all documents withheld as to
  the AG matter (and the settled Chambers matter to the extent it bears on the Zurich-specific issues




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  in this case) prior to the filing of this lawsuit.4 To the extent documents generated before Tokio
  decided not to defend or indemnify Ventron in the Silvery case exist, they should also be ordered
  produced.
        II.      Interpretive Materials and Other Underwriting Documents are Discoverable as
                 They Might Lead to the Discovery of Defendants’ Interpretations of the Policy
                 Favoring Coverage.

              Where an insurance policy must be interpreted because certain provisions are alleged to be
  ambiguous, discovery is appropriate to ascertain an insurer’s candid interpretations of disputed
  policy language that might aid the Court in determining whether the policy is subject to more than
  one reasonable interpretation, and therefore ambiguous. As courts in this District have recognized,
  an insurers’ underwriting file and interpretive materials may contain such evidence. See Del Monte
  Fresh Produce, B.V. v. ACE Am. Ins. Co., No. 00-4792-CIV, 2002 WL 34702176 at *2 (S.D. Fla.
  Sept. 4, 2002); Viking Yacht Co. v. Affiliated FM Ins. Co., No. 07-80341-CIV, 2008 WL 8715540
  at *2 (S.D. Fla. Feb. 7, 2008); Mosley v. Am. Home Assur. Co., No. 13-20259-CIV, 2013 WL
  6190746, at *2 (S.D. Fla. 2013); In re Certified HR Servs., Co., Adv. Proc No. 10-3040-BKC-
  RBR at *4 (Bkr. S.D. Fla. Nov. 30, 2010) (interpretive materials show how an insurer interprets
  the provisions of its policy and whether ambiguity exists);5 Ironshore Indem. Co. v. Banyon 1030-
  32, LLC, et. al., Case No. 12-CV-61678-Cooke/Turnoff (S.D. Fla. March 28, 2014) (interpretive
  materials are relevant and discoverable);6 National Cas. Co. v. United States Adult Soccer Ass’n,
  Inc., et al., No. 15-24052-CIV-Martinez/Goodman (S.D. Fla. July 11, 2016) (allowing Rule
  30(b)(6) deposition discovery on interpretation of ambiguous or potentially ambiguous policy
  terms, and underwriting decisions made as to disputed policy terms).7
              Tokio drafted and sold to Ventron an endorsement which, according to Tokio, limits its
  liability for defense and indemnity for all claims “resulting from assault and/or battery only” to $1
  million. Ventron disputes Tokio’s interpretation, and believes either this language applies to
  claims for “only assault and/or battery” but not other theories of liability against Ventron, or only

  4
   Ventron does not seek privileged communications between Tokio and coverage counsel hired to
  defend it in this case, or Georgia-based coverage counsel who authored coverage position letters
  on Tokio’s behalf after this case was filed.
  5
      A copy of the decision in In re Certified is attached as Exhibit E.
  6
      A copy of the decision in Banyon is attached as Exhibit F.
  7
      A copy of the decision in National Casualty is attached as Exhibit G.


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  applies as to each insured location under Tokio’s policy. Under either interpretation, Tokio would
  continue to owe defense and indemnity obligations in AG and Silvery.               Underwriting and
  interpretive documents bearing on how Tokio’s policy language operates would lead to the
  discovery of relevant evidence here.
                                           CONCLUSION

         For the foregoing reasons, Ventron respectfully requests that this Court compel Tokio (and
  to the extent not produced by agreement, Zurich) to produce documents responsive to Ventron’s
  requests for production as set forth herein.

         Dated this 20th day of November, 2020.

                                                       Respectfully submitted,

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                                                       Counsel for Plaintiff

                 CERTIFICATION OF GOOD FAITH EFFORT TO CONFER

         Pursuant to Local Rule 7.1(a)(3), counsel for Ventron Management, Inc. certifies that they

  have conferred with counsel for Tokio Marine Specialty Insurance Company and American

  Guarantee & Liability Insurance Co., by phone for several hours on November 3, 2020, and

  November 12, 2020, and by email on several occasions between October 23, 2020 and November

  7, 2020, the results of which are reflected in Exhibits B and D attached hereto.

                                                       /s/ Christopher T. Kuleba
                                                       Christopher T. Kuleba


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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 20, 2020, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record identified below via transmission of Notice of

  Electronic Filing generated by CM/ECF.

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                                                        /s/ Christopher T. Kuleba
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